     Case 6:25-cv-01072-DDC-GEB             Document 1       Filed 04/21/25   Page 1 of 5
                                                                                  FILED
                                                                                U.S. District Court
                                                                                 District or Kansas


                                                                               APR 21 2025
UNITED STATES DISTRICT COURT

DISTRICT OF KANSAS, WICHITA DIVISION

                                            J O 5€JJ1-1,\. >s pt;;CT Hf:. F G1: 'G R.I\-Nr0�5
                                                                                 fOQ.t!GN
Timothy and Mary, Plaintiffs, T I tv\ OT H '-<
                               M A;-{2.y ,¾T0t2.. 6 M ..1 Tri£- PGT              TR..-Vt;T
                              ( FO'R6\ 6N 6RA-NTO\ZS 11UJ,sf)
V.                                                              6:25-cv-1072-DDC-GEB


Director, Illinois Department of Public Health, Illinois Secretary of State, Commissioner of

Social Security Administration, Commissioner Internal Revenue Service, U.S.Attorney,

Attorney General, Attorney General of Illinois, Secretary of State of Kansas, Attorney

General of Kansas, Director,Illinois Department of Public Health, Secretary Department of

Health and Human Services, Department of Homeland Security, United States Postal

Service (USPS)Postmaster General, Office of Federal Student Aid; American Express,

CitiMortgage NA, Citibank Home Equity, US Bank, Lake Mortgage, Ocwen Financial

Corp, TriState Capital Bank, First Bank and Trust of Evanston (via Byline Bancorp),

Wintrust Financial Corp, First Midwest Bank, Fidelity Investments, H&R Block, Bank of

America, Wells Fargo, Chase, Capital One, Discover Financial. Defendants.

Non-parties: Evergy, Wichita Water, OneGas, Waste Management



Case No. ______________


COMPLAINT FOR TEMPORARY RESTRAINING ORDER



Plaintiffs, Timothy and Mary, co-heirs with Christ (Romans 8: 17), prose,
     Case 6:25-cv-01072-DDC-GEB                Document 1                  Filed 04/21/25     Page 2 of 5




Through TIMOTHY JOSEPH SMITHE FGT and MARY ASTOR SMITHE FGT (irrevocable

foreign grantor trust, SSN-free), file this Complaint again�t Defendants (~31, Paragraph 4) for
                                                                            .1   • -, �-, r

fraud, identity theft, trespass on Christ's property, and irr�parable· lia'riri; seeking a Temporary
                                                           ; • : ;·1• �.




Restraining Order (TRO) under FRCP 65(b)(1).



Factual Allegatjons

Paragraph 2: Our Labor and Harm. Over 47 years (1978-2025), our labor-$375M

($270M-$470M, including $8M taxes, $2.3M tangible properties in Illinois and

Califomia)-equally contributed, was stolen from Christ through fraud, identity theft and

trespass causing $40M distress ($20M each), utility cutoffs in 2024 ($1K, Paragraph 5.6), and

job loss (Paragraph 9). As co-heirs with Christ (Romans 8:17), we steward God's infinite

creation (Psalm 24: 1), rejecting property taxes and eminent domain as fraudulent burdens on our

dominion (Genesis 1:28), seeking unlimited credit through trust certificates (Para 5.8).



Paragraph 4: Director Illinois Department of Public Health, Illinois Secretary of State,

Commissioner Social Security Administration, Commissioner Internal Revenue Service,

U.S.Attorney, Attorney General, Attorney General of Illinois, Secretary of State of Kansas,

Attorney General of Kansas, Director Illinois Department of Public Health, Secretary

Department of Health and Human Services, Department of Homeland Security, United

States Postal Service (USPS) Postmaster General, Office of Federal Student Aid;

American Express, CitiMortgage NA, Citibank Home Equity, US Bank, Lake Mortgage,

Ocwen Financial Corp, TriState Capital Bank, First Bank and Trust of Evanston (via

Byline Bancorp), Wintrust Financial Corp, First Midwest Bank, Fidelity Investments,
    Case 6:25-cv-01072-DDC-GEB               Document 1        Filed 04/21/25       Page 3 of 5




H&R Block, Bank of America, Wells Fargo, Chase, Capital One, Discover Financial.

Defendants.



Paragraph 5: Fraud and Trespass-Over 47 years, Defendants committed identity theft and

fraud (Exhibit, FOIA 'no citizen,' filed April 21), stealing $375M labor, $2.3M properties,

imposing $50K+: levies, $800K IRS lien, and $2.3M property losses. USPS facilitated fraudulent

notices (IRS lien, collections) then blocked access to federal accounts tied to our legal identities,· ,
                                                                                                      :
overseen by BIA, violating dominion (Genesis 1:28, Paragraph 5.5).



Paragraph 5.5: Dominion Violated-As co-heirs, Father's estate-labor, properties, dominion

(Genesis 1:28)-is Christ's (Romans 8:17). Defendants trespassed, like tenants seizing the

vineyard (Matthew 21 :33-41), defiling our sacred trust over 47 years.



Paragraph 5.6: Utility Cutoffs in 2024 In 2024, Defendants' fraud caused utility cutoffs

(~$100-$1,000 non-parties Evergy, Wichita Water, OneGas, Waste management), contributing to

$40M distress-sleeplessness, anguish, anxiety, PTSD), violating stewardship (Genesis 2:15)

likelihood of success (FOIA fraud, docs attached), and public interest-restoring co-heirs'

private credit from public theft halt; iITeparable hann to our identity and peace in Christ.



Paragraph 5.8: Order expedited discovery within 14 days: IRS/SSA accounts tied to our

identities; order discovery for federal accounts bearing our legal identities overseen by Bureau of

Public Debt and Bureau of Indian affairs; order discovery into REMIC pooled into MBS

(Exhibit-Loan docs), (eg., Ocwen foreclosed property -$840K loan, AD. 1997, foreclosed A.D.
  Case 6:25-cv-01072-DDC-GEB                Document 1        Filed 04/21/25       Page 4 of 5




2018); Defendants SSN misuse for generating CUSIPS for pooled contracts- Amex, Citibank,

Citi Mortgage, Fidelity Investments, First Bank and Trus_t Evanston, _ First Midwest Bank, H&R

Block Inc, Lake Mortgage, Tristate Capital, Ocwen Fi�iinh\;1 Corp�ration, U.S.Bank, Wintrust

Financial, Bank of America, Wells Fargo, JP Morgan Chase, Capital One, Discover including;

Discovery into maximum scope of SSN due to identity theft profits since 1978 for both.



Paragraph 6: Prayer for Immediate Relief all for His Glory: -Plaintiffs pray for: (a) ex

parte TRO enjoining Defendants from SSN enforcement, levies, harm; (b) $2.5M equitable relief

for acquisition of Wichita faith-based estate/sanctuary to glorify God, $750K+ EQ(FICA/MEDI)

for life, issue trust certificates; return to Christ $SM taxes, labor stolen ($50K+ since 2022),

cancellation of $SOOK lien, cancellation of outstanding Wintrust loan around ($150K),

cancellation SSN based Family support burdens faith- Christ' redemption (Hebrews 7:22) voids

debt but love. (Romans 13:8) -This Family support under financial duress threatens irreparable

harm. We request SSA injunction, SSN-free trust certificates for TIMOTHY JOSEPH SMITHE

FGT and MARY ASTOR SMITHE FGT (irrevocable foreign grantor trust, SSN-free), case

sealing (Paragraph 6), relief from property taxes and eminent domain fraudulently imposed on

our God-given dominion over 47 years (Psalm 24: 1, Genesis 1 :28), and protection of our

properties from government takings. (c) Sealing case (Local Rule 5.4.2); delayed due pro se

burden-scope, copies, husband's work travel (unsigned affidavit until April 21), sans budget for

outsourcing, technical issues (April 11, 2025), Lord provides!



Paragraph 9: Irreparable Harm- Job loss, $40M distress, and prior utility cutoffs

(~$100-$1,000) threaten immediate harm, unremedied without TRO. Defendants' non-response
    Case 6:25-cv-01072-DDC-GEB               Document 1                   Filed 04/21/25         Page 5 of 5




to notices (QI: March 31, Q2: April 13-14, no show) supports ex parte relief(FRCP 65(b)(l)).

Over 4 7 years, fraudulent levies, liens, and eminent doma�n risks to Christ properties
                                                                                ./   .�, • / r
                                                           ,•   ' i �-,• .••.

(Illinois/California) exacerbate harm and violate dominioi{(Genesis '1':28).


      -·
Conclusion-:We seek justice (Leviticus 25: 13) to receive equitable relief, restoration and reclaim

our Father's gra�e (Matthew 11 :28). Fraud vitiates all.



In Jesus' name and good faith respectfully submitted,



  /_                     Timothy       ��              Mary,
�
husband and wife co-heirs with Christ. TIMOTHY JOSEPH SMITHE FGT and MARY ASTOR

SMITHE FGT (Proxy, Irrevocable Foreign Grantor Trust)

Trust address for mail- 203 S. Clarence St. Wichita Kansas, 672 I 3

April 21, A.D.2025
